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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                          Chapter 11

 ROOSEVELT INN, LLC and                          Case No. 21-11697(AMC)
 ROOSEVELT MOTOR INN, INC.
                                                 JOINTLY ADMINISTERED
                       Debtors.


               AMENDED DECLARATION OF LUKE E. DEBEVEC
   IN SUPPORT OF THE SECOND AMENDED JOINT PLAN OF REORGANIZATION

                I, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury that the

 following is true to the best of my knowledge, information and belief:

           1.   I am a partner in the law firm of Reed Smith LLP, which Roosevelt Inn, LLC and

 Roosevelt Motor Inn, Inc. (the “Debtors”) have retained as special insurance coverage counsel in

 connection with insurance coverage and/or insurance litigation related to certain underlying

 lawsuits. I am admitted to practice in the Commonwealth of Pennsylvania, and the State of New

 Jersey.

           2.   I make this declaration (the “Declaration”) in support of the Second Amended

 Joint Plan of Reorganization dated May 10, 2023 (as may be amended, modified, or

 supplemented, the “Plan”) proposed by the Debtors and to place before the Court certain

 documents that are relevant to the underlying claims against the Debtors as discussed below,

 including certain insurance policies that constitute the property of the Debtors. The statements in

 this Declaration are based on my personal knowledge.

                                            BACKGROUND

           3.   Beginning in March 2017, the Debtors were served with five lawsuits that alleged

 that traffickers would bring women, including minors, to the Debtors’ insured property for the
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 purpose of commercial prostitution from 2008 through 2015, and these claimants asserted a

 variety of claims alleging that the Debtors and certain other named Defendants should be held

 responsible for such claims (the “Initial Pre-Petition Claims”).

        4.      The Debtors provided notices of these five Initial Pre-Petition Claims to their

 insurance companies, which resulted in reservations of rights, denials of coverage, and ultimately

 pending insurance coverage litigation regarding the insurance companies’ obligations to the

 Debtors under the insurance policies sold to them. In that coverage litigation, each of the

 insurance companies has sought to disclaim its obligation to defend and/or indemnify the

 Debtors in connection with the defense and/or any potential resolution of the Initial Pre-Petition

 Claims.

        5.      As discussed below, following notice, the primary-layer insurance companies

 either agreed to defend the Debtors as to certain of the Initial Pre-Petition Claims, subject to their

 reservation of rights to ultimately disclaim all coverage and/or institute a declaratory judgment

 action to determine the extent of coverage, if any, or denied coverage for the Initial Pre-Petition

 Claims. The excess-layer insurance companies generally responded with letters either denying

 coverage for the Initial Pre-Petition Claims and/or asserting that their excess policies have not

 yet been triggered.

        6.      More specifically, regarding the insurance coverage litigation referenced above,

 first, on October 10, 2018, Samsung Fire & Marine Insurance Co., Ltd. (U.S. Branch)

 (“Samsung”) filed a Complaint against the Debtors in the United States District Court for the




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 Eastern District of Pennsylvania under Case No. 2:18-cv-04365-CDJ (the “Samsung Coverage
             1
 Litigation”).

        7.       Ultimately, five other insurance companies, specifically Nationwide, Harleysville

 Preferred, ACE, PIIC, and Capitol, have become parties to the Samsung Coverage Litigation,

 which focuses on those parties’ coverage obligations as to four of the Initial Pre-Petition Claims

 (M.B., B.H., C.A., and K.R).

        8.       Second, on July 22, 2020, the Debtors filed a Complaint, focusing on one of the

 Initial Pre-Petition Claims (A.H.), against two other insurance companies – Praetorian Insurance

 Company (“Praetorian”) and Public Service Mutual Insurance Company (“PSMI”) – in the

 Pennsylvania Court of Common Pleas for Philadelphia County under Case ID No. 200701464
                                         2
 (the “Praetorian Coverage Litigation.”).

        9.       On June 16, 2021 (the “Petition Date”), the Debtors commenced their Chapter 11

 cases, which are jointly administered under the above-captioned Case No. 21-11697(AMC), by

 filing voluntary petitions for relief under Chapter 11 of the Bankruptcy Code in the United States

 Bankruptcy Court for the Eastern District of Pennsylvania (the “Bankruptcy Court”).



 1
  Attached as Exhibit A is the docket in the Samsung Coverage Litigation. The most recent,
 operative pleadings in that case are as follows: (1) Document 50: Samsung’s January 7, 2020
 Second Amended Declaratory Judgment Complaint; (2) Document 63: the Debtors’ February 12,
 2020 Fourth Amended Third-Party Complaint against Third-Party Defendant Nationwide Mutual
 Insurance Company (“Nationwide”), Third-Party Defendant Harleysville Preferred Insurance
 Company (“Harleysville Preferred”), and Third-Party Defendant ACE Property and Casualty
 Insurance Company (“ACE”); (3) Document 94: Nationwide’s and Harleysville Preferred’s
 November 3, 2020 Fourth-Party Complaint against Fourth-Party Defendant Philadelphia
 Indemnity Insurance Company (“PIIC”); (4) Document 100: PIIC’s January 8, 2021 Fifth-Party
 Complaint against Fifth-Party Defendant Capitol Specialty Insurance Corporation (“Capitol”);
 (5) Document 106: Capitol’s February 26, 2021 Counterclaim against PIIC and Crossclaims
 against Samsung, the Debtors, ACE, Nationwide, and Harleysville Preferred.
 2
  Attached as Exhibit B is the operative May 3, 2021 Amended Complaint in the Praetorian
 Coverage Litigation.



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        10.     On September 24, 2021, the Bankruptcy Court entered an Order (the “Bar Date

 Order”) (a) establishing October 30, 2021 as the General Bar Date, (b) establishing December

 13, 2021 as the Governmental Bar Date, (c) establishing procedures to file general proofs of

 claim and (d) establishing procedures to file tort proofs of claim.

        11.     On September 29, 2021, the Bankruptcy Court entered an Amended Order

 establishing certain confidentiality procedures for holders of tort claims to file proofs of claim

 (the “Tort Claim Confidentiality Order”).

        12.     Pursuant to the Bar Date Order and Tort Claim Confidentiality Order, the Direct
                3
 Tort Claimants in the five Initial Pre-Petition Claims – M.B., C.A., B.H., K.R., and A.H. – as

 well as ten new claimants – B.S., D.P., D.W., E.B., J.H., L.E., S.M., S.W., T.H., and T.S. (the

 claims of these ten new Direct Tort Claimants are referred to herein as the “New Direct Tort

 Claims” and together with the Initial Pre-Petition Claims, the “Direct Tort Claims” or at times

 the “Pre-Petition Claims” and the holders of these Direct Tort Claims are referred to as the

 “Direct Tort Claimants”) – filed Proofs of Claim with the Bankruptcy Court against the Debtors

 that were asserting claims similar to the claims asserted in the five Initial Pre-Petition Claims.

        13.     As detailed below, the Debtors provided notices of all Direct Tort Claims to all

 insurance companies which had sold potentially responsive policies to the Debtors, in addition to

 providing notice of the mediation process that was pending in the Bankruptcy Court.

        14.     As discussed below, most of the primary-layer insurance companies either denied

 coverage for the Direct Tort Claims or agreed to defend the Debtors as to certain Direct Tort

 Claims, subject to a full reservation of rights to disclaim all coverage, pending the result of the


 3
  A total of fifteen persons making such claims have been designated and defined herein as
 “Direct Tort Claimants.”



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 Samsung Coverage Litigation or the Praetorian Coverage Litigation. The excess-layer insurance

 companies generally responded with reservation of rights letters, denying coverage for the Direct

 Tort Claims and/or asserting that their excess policies have not yet been triggered.

          15.      In addition to seeking insurance coverage under the policies sold to them, the

 Debtors have demanded insurance coverage for the Initial Pre-Petition Claims and New Direct

 Tort Claims under the “additional insured” provisions of the policies of Alpha Centurion

 Security, Inc. (“Alpha Centurion”), which had contracted to provide the Debtors with uniformed

 security officers at the Debtors’ insured property.

          16.      Alpha Centurion had agreed, in its contract with the Debtors, to add the Debtors

 as additional insureds to potentially responsive insurance policies sold to Alpha Centurion. For

 example, Section 9 of Alpha Centurion’s 2007 security contract with the Debtors specifically

 provided: “Service [Alpha Centurion] will carry comprehensive general liability insurance,

 issued by insurance companies licensed to do business in the Commonwealth of Pennsylvania

 and State of New Jersey with a minimum limit of $1 million and $2 million Aggregate, workers’

 compensation insurance covering its employees while working at Client’s locations. Client shall

 be furnished with a certificate of insurance. Client [Debtors] will be added as an additionally
                   4
 [sic] insured.”

          17.      On March 20, 2023, the District Court in the Samsung Coverage Litigation issued

 an Opinion and Order “find[ing] that public policy bars coverage as to [Samsung, Nationwide,
                                                                                        5
 and ACE] and for the sake of judicial economy, the Court solely addresses this issue.”



 4
     Exhibit C (emphasis added).
 5
     Exhibit A, Document 140 at 11.



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           18.    On May 15, 2023, to expedite an appeal without waiver of claims that were not

 resolved in the Opinion and Order, the parties in the Samsung Coverage Litigation filed a Joint

 Stipulation, which the District Court accepted and filed as a Final Judgment on May 16, 2023,

 stating: “Pursuant to that Joint Stipulation, the Court hereby enters judgment to expedite a

 prompt appeal of its ruling in its March 20, 2023 Opinion and Order (ECF Nos. 140 and 141), in

 favor of Plaintiff Samsung [], Third-Party Defendant ACE [], Third-Party Defendant and Fourth-

 Party Plaintiff Harleysville Preferred [], Third-Party Defendant and Fourth-Party Plaintiff
                                                                           6
 Nationwide [] and against Defendants/Counterclaim-Plaintiffs [Debtors].”

           19.    The parties in the Samsung Coverage Litigation “further stipulate[d] and agree[d]

 that all Parties’ arguments regarding” their respective claims, counterclaims, and crossclaims
                                                                 7
 “are not waived and are fully preserved for purposes of appeal.”

           20.    The Debtors have filed a Notice of Appeal to the United States Court of Appeals
                        8
 for the Third Circuit.

              THE DEBTORS ATTACH TO THIS DECLARATION ALL AVAILABLE
           INSURANCE POLICIES POTENTIALLY RESPONSIVE TO THE INITIAL PRE-
                   PETITION CLAIMS AND NEW DIRECT TORT CLAIMS

           21.    The Debtors attach to this Declaration electronic copies of all of the Debtors’

 insurance policies9 that are potentially responsive to the Initial Pre-Petition Claims and New




 6
     Exhibit A, Document 144 at 2.
 7
     Exhibit A, Document 144 at 8.
 8
     Exhibit A, Document 145.
 9
     Exhibits F through Z, Exhibits AA through II, as further described below.



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 Direct Tort Claims, except for the four excess layer insurance policies listed below, the full

 copies of which are not in the Debtors’ possession, as well as a chart10 listing all such policies.

           22.      In relation to the four known policies for which the Debtors do not have a copy,

 the Debtors attach to this Declaration certificates of insurance and evidence of insurance in the

 Debtors’ possession evidencing these policies.11         As evidenced in the correspondence (as

 discussed further below) that the Debtors are filing as redacted exhibits to this Declaration, the

 Debtors have also asked all of the insurance companies that issued the policies below to provide

 full copies of the following policies:

                 a. ACE Policy No. G2489859312 for the period April 1, 2009 through April 1, 2010.

                 b. Westchester    Fire    Insurance     Company    (“Westchester”)      Policy    No.

                    G2404563800113 for the period April 1, 2009 through April 1, 2010.

                 c. Allied World Assurance Company (“Allied World”) Policy No. 0310-178014 for

                    the period April 20, 2017 through April 20, 2018.

                 d. Great American Insurance Company of New York (“Great American”) Policy No.

                    EXC410077015 for the period April 20, 2017 through April 20, 2018.




 10
      Exhibit E.
 11 See Exhibit U at 1-6; see Exhibit DD at 1, 5-6; see Exhibit Z at 1, Form “GL 00139 00
 (12/11)”, Form “00157 (11/05)”, Form “00136 (11/05)”, Form “00241 (11/05)”, and Form “CR
 MANU A”; see Exhibit BB at Form “GAI 6600 (Ed. 06/97)”.
 12
      See Exhibit U at 1-6.
 13
      See Exhibit DD at 1, 5-6.
 14
   See Exhibit Z at 1, Form “GL 00139 00 (12/11)”, Form “00157 (11/05)”, Form “00136
 (11/05)”, Form “00241 (11/05)”, and Form “CR MANU A”.
 15
      See Exhibit BB at Form “GAI 6600 (Ed. 06/97)”.



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           23.      The Debtors additionally attach to this Declaration electronic copies of all of

 Alpha Centurion’s insurance policies16 that are potentially responsive (to the extent the Debtors

 have knowledge of such policies) to the Initial Pre-Petition Claims and New Direct Tort Claims,

 except for the three policies listed below, the full copies of which are not in the Debtors’

 possession.

           24.      The Debtors are aware of the three Alpha Centurion insurance policies listed

 below, but the Debtors do not have a copy of these policies. The Debtors attach to this

 Declaration evidence of insurance in the Debtors’ possession referencing the two PIIC policies

 below.17 As evidenced in the correspondence (as discussed further below) that the Debtors are

 filing as redacted exhibits to this Declaration, the Debtors have also asked all of the insurance

 companies that issued the policies below to provide full copies of the following policies:

                 a. Everest Indemnity Insurance Company (“Everest”) Policy No.: 51GL002418-081

                    for the period March 11, 2008 through March 11, 2009.

                 b. PIIC Policy No.: PHPK39676518 for the period March 11, 2009 through March

                    11, 2010.

                 c. PIIC Policy No.: PHPK54063719 for the period March 11, 2010 through March

                    11, 2011.




 16
      Exhibits JJ through QQ, as further described below; see also Exhibit D.41 at 12.
 17 See Exhibit D.41 at 12; see Exhibit JJ at Form “CA DS 03 03 10” “Page 1 of 13”.

 18
      See Exhibit D.41 at 12.
 19
      See Exhibit JJ at Form “CA DS 03 03 10” “Page 1 of 13”.



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               THE DEBTORS ATTACH TO THIS DECLARATION ALL NOTICES TO
             INSURANCE COMPANIES OF THE INITIAL PRE-PETITION CLAIMS AND
                 NEW DIRECT TORT CLAIMS AND THE INSURERS’ COVERAGE
                                  POSITIONS, IF ANY

           25.     As detailed below on an insurer-by-insurer basis, the Debtors provided notice of

 the Initial Pre-Petition Claims and New Direct Tort Claims to the insurance companies that sold

 all potentially responsive policies to the Debtors.

           26.     The Debtors are filing as redacted exhibits to this Declaration, electronic copies of

 all of the above-referenced notice letters. The Debtors are filing as redacted exhibits to this

 Declaration, electronic copies of all of the above-referenced notice letters. The Debtor are filing

 redacted Insurance-Related Correspondence because these documents contain confidential

 discussion between the Debtors and their insurance companies regarding the Direct Tort Claims

 and/or Initial Pre-Petition Claims and detailed discussion of related coverage positions for these

 claims.

           27.     To the extent the Debtors’ insurance companies responded to the notice letters

 with a coverage position, the Debtors are filing as redacted exhibits to this Declaration,

 electronic copies of all such coverage position correspondence.

       A.        The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
       to Praetorian of Initial Pre-Petition Claims and that Insurance Company’s Coverage
       Position.

           28.     Regarding Praetorian primary-layer Policy No. H47001114220 for the period April

 1, 2007 through April 1, 2008, the Debtors provided notice on January 30, 202021 that this policy




 20
      Exhibit F.
 21
      Exhibit D.1 (Debtors’ notice letter dated January 30, 2020 to Praetorian).



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 is potentially responsive to Direct Tort Claimant A.H.’s Complaint, which was served on

 Roosevelt Inn on January 29, 2020.

           29.     On June 17, 2020, Praetorian denied coverage for Direct Tort Claimant A.H.’s

 Direct Tort Claim.22

           30.     Praetorian is a party to the Praetorian Coverage Litigation.

        B.        The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
        to PSMI of Initial Pre-Petition Claims and that Insurance Company’s Coverage
        Position.

           31.     Regarding PSMI primary-layer Policy No. CG00161123 for the period April 1,

 2008 through April 1, 2009, the Debtors provided notice on January 30, 202024 that this policy is

 potentially responsive to Direct Tort Claimant A.H.’s Complaint, which was served on Roosevelt

 Inn on January 29, 2020.

           32.     On August 26, 2020, PSMI sent Roosevelt Inn a letter providing its coverage

 position        regarding    Direct     Tort    Claimant     A.H.’s     Complaint    and     stated:

 “subject to this reservation of rights to disclaim coverage, Public Service agrees to pay the

 reasonable attorneys’ fees and costs for the defense of the Roosevelt Defendants in connection
                                    25
 with the above-entitled action.”

           33.     PSMI is a party to the Praetorian Coverage Litigation.

        C.       The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
        to Nationwide (and its affiliate companies Harleysville Preferred and Harleysville



 22
      Exhibit D.2 (Praetorian’s denial letter dated June 17, 2020).
 23
      Exhibit G.
 24
      Exhibit D.3 (Debtors’ notice letter dated January 30, 2020 to PSMI).
 25
      Exhibit D.4 at 1 (PSMI’s reservation of rights letter dated August 26, 2020).



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        Mutual) of the Initial Pre-Petition Claims and New Direct Tort Claims and those
        Insurance Companies’ Coverage Positions.

           34.     Regarding the following 2 policies – Harleysville Preferred primary-layer Policy

 No. MPA00000038492C26 for the period April 1, 2011 through April 1, 2012 and Harleysville

 Mutual       Insurance     Company      (“Harleysville    Mutual”)    primary-layer   Policy   No.

 MPA00000090792M27 for the period April 1, 2012 through April 20, 2013, the Debtors provided

 notice on March 18, 201928 that these policies were potentially responsive to Direct Tort

 Claimants B.H.’s and C.A.’s Initial Pre-Petition Claims, which were filed as Complaints on or

 around March 27, 2019.

           35.     On April 11, 2019, Nationwide, on behalf of its affiliate companies Harleysville

 Preferred and Harleysville Mutual, sent the Debtors a letter acknowledging notice of Direct Tort

 Claimants B.H.’s and C.A.’s Complaints and agreeing to defend the Debtors as to those Initial

 Pre-Petition Claims subject to a reservation of rights to disclaim coverage and/or institute a

 declaratory judgment action to determine the extent of coverage, if any.29 Harleysville Preferred

 and Nationwide subsequently became involved in the Samsung Coverage Litigation as Third-

 Party Defendants and Fourth-Party Plaintiffs, claiming that they do not owe coverage to the

 Debtors for the Initial Pre-Petition Claims.




 26
      Exhibit H.
 27
      Exhibit I.
 28
  Exhibit D.5 (Debtors’ notice letter dated March 18, 2019 to Nationwide, Harleysville
 Preferred, and Harleysville Mutual).
 29
      Exhibit D.6 (Nationwide’s reservation of rights letter dated April 11, 2019).



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           36.     Regarding Harleysville Mutual primary-layer Policy No. MPA00000090792M30

 for the period April 1, 2012 through April 20, 2013, the Debtors provided notice on November

 13, 201931 that this policy is potentially responsive to Direct Tort Claimant K.R.’s Pre-Petition

 Complaint, which was filed on November 5, 2019.

           37.     On December 12, 2019, Nationwide, on behalf of Harleysville Mutual, sent the

 Debtors a letter acknowledging notice of Direct Tort Claimant K.R.’s Complaint and agreeing to

 defend the Debtors as to this Initial Pre-Petition Claim subject to a reservation of rights to

 disclaim coverage and/or institute a declaratory judgment action to determine the extent of

 coverage, if any.32      Nationwide subsequently became involved in the Samsung Coverage

 Litigation as a Third-Party Defendant and Fourth-Party Plaintiff denying that it owed coverage to

 the Debtors for the Initial Pre-Petition Claims.

           38.     Regarding the following two policies – Harleysville Preferred primary-layer

 Policy No. MPA00000038492C33 for the period April 1, 2011 through April 1, 2012 and

 Harleysville Mutual primary-layer Policy No. MPA00000090792M34 for the period April 1, 2012

 through April 20, 2013, Nationwide, on behalf of Harleysville Preferred and Harleysville

 Mutual, sent the Debtors an April 12, 2022 letter acknowledging notice of the ten New Direct




 30
      Exhibit I.
 31
  Exhibit D.7 (Debtors’ notice letter dated November 13, 2019 to Nationwide and Harleysville
 Mutual).
 32
      Exhibit D.8 (Nationwide’s reservation of rights letter dated December 12, 2019).
 33
      Exhibit H.
 34
      Exhibit I.



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 Tort Claims and reserving their rights to disclaim coverage and/or institute a declaratory

 judgment action to determine the extent of coverage, if any.35

        D.        The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
        to Samsung of Initial Pre-Petition Claims and New Direct Tort Claims and that
        Insurance Company’s Coverage Position.

           39.     Regarding Samsung primary-layer Policy No. CPP 0000842 0036 for the period

 April 20, 2013 through April 20, 2014 and Samsung primary-layer Policy No. CPP 0000842 0137

 for the period April 20, 2014 through April 20, 2015, Samsung’s March 28, 2017 letter38 to the

 Debtors acknowledged that Samsung had received notice on March 10, 2017 of these policies

 being potentially responsive to Direct Tort Claimant M.B.’s Complaint, which was filed on

 March 10, 2017.

           40.     On April 18, 2017, Samsung sent the Debtors a letter agreeing to participate in the

 defense of the Debtors as to this Initial Pre-Petition Claim subject to a reservation of rights to

 disclaim coverage and/or institute a declaratory judgment action to determine the extent of

 coverage, if any.39      Samsung subsequently commenced the Samsung Coverage Litigation,

 denying that it owed coverage to the Debtors for the Initial Pre-Petition Claims.

           41.     Regarding Samsung primary-layer Policy No. CPP 0000842 0040 for the period

 April 20, 2013 through April 20, 2014, the Debtors provided notice on March 29, 201941 that this


 35
      Exhibit D.9 (Nationwide’s reservation of rights letter dated April 12, 2022).
 36
      Exhibit J.
 37
      Exhibit K.
 38
      Exhibit D.10 (Samsung’s letter dated March 28, 2017 acknowledging notice).
 39
      Exhibit D.11 (Samsung’s reservation of rights letter dated April 18, 2017).
 40
      Exhibit J.



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 policy is potentially responsive to Direct Tort Claimants B.H.’s and C.A.’s Initial Pre-Petition

 Claims, which were filed as Complaints on or around March 27, 2019.

           42.     On April 17, 2019, Samsung sent the Debtors a letter agreeing to participate in the

 defense of the Debtors as to these Initial Pre-Petition Claims subject to a reservation of rights to

 disclaim coverage and/or institute a declaratory judgment action to determine the extent of

 coverage, if any.42 In the Samsung Coverage Litigation, Samsung denied that it owed coverage

 to the Debtors for the Initial Pre-Petition Claims.

           43.     Regarding Samsung primary-layer Policy No. CPP 0000842 0043 for the period

 April 20, 2013 through April 20, 2014, the Debtors provided notice on November 12, 201944 that

 this policy is potentially responsive to Direct Tort Claimant K.R.’s Pre-Petition Complaint,

 which was filed on November 5, 2019.

           44.     On November 21, 2019, Broadspire Services, Inc., on behalf of Samsung, sent the

 Debtors a letter, agreeing to participate in the defense of the Debtors as to this Initial Pre-Petition

 Claim subject to a reservation of rights to disclaim coverage and/or institute a declaratory

 judgment action to determine the extent of coverage, if any.45           In the Samsung Coverage

 Litigation, Samsung denied that it owed coverage to the Debtors for the Initial Pre-Petition

 Claims.


 _____________________
 Continued from previous page
 41
      Exhibit D.12 (Debtors’ notice letter dated March 29, 2019 to Samsung).
 42
      Exhibit D.13 (Samsung’s reservation of rights letter dated April 17, 2019).
 43
      Exhibit J.
 44
      Exhibit D.14 (Debtors’ notice letter dated November 12, 2019 to Samsung).
 45
      Exhibit D.15 (Samsung’s reservation of rights letter dated November 21, 2019).



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           45.     Regarding Samsung primary-layer Policy No. CPP 0000842 0046 for the period

 April 20, 2013 through April 20, 2014 and Samsung primary-layer Policy No. CPP 0000842 0147

 for the period April 20, 2014 through April 20, 2015, the Debtors provided notice on January 14,

 202248 that these policies are potentially responsive to the New Direct Tort Claims of D.W., E.B.,

 J.H., S.M., and S.W.

           46.     On March 17, 2022, Samsung sent the Debtors a letter, agreeing to participate in

 the defense of the Debtors as to these New Direct Tort Claims subject to a reservation of rights to

 disclaim coverage and/or institute a declaratory judgment action to determine the extent of

 coverage, if any.49

       E.        The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
       to Associated Industries of New Direct Tort Claims and that Insurance Company’s
       Coverage Position.

           47.     Regarding the following three policies – (1) Associated Industries Insurance

 Company, Inc. (“Associated Industries”) primary-layer Policy No. AES1034559 0050 for the

 period April 20, 2015 through April 20, 2016, (2) Associated Industries primary-layer Policy No.

 AES1034559 0151 for the period April 20, 2016 through April 20, 2017, and (3) Associated

 Industries primary-layer Policy No. AES1034559 0252 for the period April 20, 2017 through


 46
      Exhibit J.
 47
      Exhibit K.
 48
      Exhibit D.16 (Debtors’ notice letter dated January 14, 2022 to Samsung).
 49
      Exhibit D.17 (Samsung’s reservation of rights letter dated March 17, 2022).
 50
      Exhibit L.
 51
      Exhibit M.
 52
      Exhibit N.



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 April 20, 2018, the Debtors provided notice on January 14, 202253 that these policies are

 potentially responsive to the New Direct Tort Claims of T.H., T.S., and B.S, and the Debtors

 demanded participation in the mediation of the bankruptcy case.

           48.     On August 1, 2022, Associated Industries sent the Debtors a letter, agreeing that it

 would participate in this bankruptcy case’s mediation(s) as to these New Direct Tort Claims

 subject to a reservation of rights to disclaim all coverage.54

        F.        The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
        to United Specialty of New Direct Tort Claims.

           49.     Regarding United Specialty Insurance Company (“United Specialty”) primary-

 layer Policy No. EGM-MGL2991-1855 for the period April 20, 2018 through April 20, 2019, the

 Debtors provided notice on March 14, 202256 and through a follow-up letter on August 12, 202257

 that this policy is potentially responsive to the New Direct Tort Claim of B.S., and the Debtors

 demanded participation in the mediation of the bankruptcy case, but United Specialty has not

 responded to date with an acknowledgement of these claims or coverage position.

        G.        The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
        to AGLIC of Initial Pre-Petition Claims and that Insurance Company’s Coverage
        Position.

           50.     Regarding American Guarantee and Liability Insurance Company (“AGLIC”)

 excess-layer Policy No. AUC38255260458 for the period April 1, 2007 through April 1, 2008 and


 53
      Exhibit D.18 (Debtors’ notice letter dated January 14, 2022 to Associated Industries).
 54
      Exhibit D.19 (Associated Industries’ reservation of rights letter dated August 1, 2022).
 55
      Exhibit O.
 56
      Exhibit D.20 (Debtors’ notice letter dated March 14, 2022 to United Specialty).
 57
      Exhibit D.21 (Debtors’ follow-up notice letter dated August 12, 2022 to United Specialty).
 58
      Exhibit P.



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 AGLIC excess-layer Policy No. AUC37486200659 for the period April 1, 2008 through April 1,

 2009, the Debtors provided notice on January 30, 202060 that these policies are potentially

 responsive to Direct Tort Claimant A.H.’s Complaint, which was served on Roosevelt Inn on

 January 29, 2020.

           51.     On February 21, 2020, AGLIC sent the Debtors a reservation of rights letter

 asserting that its excess policies for the 2007 through 2009 policy periods have not yet been

 triggered.61

       H.       The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
       to ACE of Initial Pre-Petition Claims and New Direct Tort Claims and that Insurance
       Company’s Coverage Position.

           52.     Regarding ACE excess-layer Policy No. G24898593 00562 for the period April 20,

 2013 through April 20, 2014, ACE sent the Debtors an October 4, 2017 letter63 acknowledging

 notice of Direct Tort Claimant M.B.’s Pre-Petition Complaint, but denying coverage for this

 Initial Pre-Petition Claim under this policy.

           53.     Regarding the following three policies – (1) ACE excess-layer Policy No.

 G24898593 00364 for the period April 1, 2011 through April 1, 2012, (2) ACE excess-layer

 Policy No. G24898593 00465 for the period April 1, 2012 through April 1, 2013, and (3) ACE


 59
      Exhibit Q.
 60
      Exhibit D.22 (Debtors’ notice letters dated January 30, 2020 to AGLIC).
 61
      Exhibit D.23 (AGLIC’s reservation of rights letter dated February 21, 2020).
 62
      Exhibit R.
 63
      Exhibit D.24 (ACE’s denial letter dated October 4, 2017).
 64
      Exhibit S.
 65
      Exhibit T.



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 excess-layer Policy No. G24898593 00566 for the period April 20, 2013 through April 20, 2014,

 the Debtors provided notice on March 29, 201967 that these policies are potentially responsive to

 Direct Tort Claimants B.H.’s and C.A.’s Initial Pre-Petition Claims.

           54.     On June 12, 2019, ACE sent the Debtors a letter, denying coverage for these

 Initial Pre-Petition Claims.68

           55.     Regarding the following two policies – ACE excess-layer Policy No. G24898593

 00469 for the period April 1, 2012 through April 1, 2013 and ACE excess-layer Policy No.

 G24898593 00570 for the period April 20, 2013 through April 20, 2014, the Debtors provided

 notice on November 12, 201971 that these policies are potentially responsive to Direct Tort

 Claimant K.R.’s Initial Pre-Petition Claim.

           56.     On December 15, 2022, ACE sent the Debtors a letter, denying coverage for this

 Initial Pre-Petition Claims.72

           57.     Regarding six ACE policies ((1) ACE excess-layer Policy No. G2489859373 for

 the period April 1, 2009 through April 1, 2010, (2) ACE excess-layer Policy No. G24898593




 66
      Exhibit R.
 67
      Exhibit D.25 (Debtors’ notice letter dated March 29, 2019 to ACE).
 68
      Exhibit D.26 (ACE’s denial letters dated June 12, 2019).
 69
      Exhibit T.
 70
      Exhibit R.
 71
      Exhibit D.27 (Debtors’ notice letter dated November 12, 2019 to ACE).
 72
      Exhibit D.28 (ACE’s denial letters dated December 15, 2022).
 73
      See Exhibit U at 1-6.



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 00274 for the period April 1, 2010 through April 1, 2011, (3) ACE excess-layer Policy No.

 G24898593 00375 for the period April 1, 2011 through April 1, 2012, (4) ACE excess-layer

 Policy No. G24898593 00476 for the period April 1, 2012 through April 1, 2013, (5) ACE excess-

 layer Policy No. G24898593 00577 for the period April 20, 2013 through April 20, 2014, and (6)

 ACE excess-layer Policy No. G24898593 00678 for the period April 1, 2014 through April 1,

 2015), the Debtors provided notice on January 14, 202279 that these policies are potentially

 responsive to the New Direct Tort Claims of D.P., D.W., E.B., J.H., L.E., S.M., and S.W, and the

 Debtors demanded participation in the mediation of the bankruptcy case.

           58.     On December 15, 2022, ACE sent the Debtors letters, denying coverage for these

 New Direct Tort Claims.80

       I.        The Debtors Are Filing as Redacted Exhibits to this Declaration Notices to
       Allied World of New Direct Tort Claims and that Insurance Company’s Coverage
       Position.

           59.     Regarding six policies ((1) Allied World excess-layer Policy No. 0309-006181 for

 the period April 20, 2015 through April 20, 2016, (2) Allied World excess-layer Policy No.




 74
      Exhibit V.
 75
      Exhibit S.
 76
      Exhibit T.
 77
      Exhibit R.
 78
      Exhibit W.
 79
      Exhibit D.29 (Debtors’ notice letter dated January 14, 2022 to ACE).
 80
      Exhibit D.30 (ACE’s denial letter dated December 15, 2022).
 81
      Exhibit X.



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 0309-587182 for the period April 20, 2016 through April 20, 2017, (3) Allied World excess-layer

 Policy No. 0310-135683 for the period April 20, 2017 through April 20, 2018, (4) Allied World

 Insurance Company excess-layer Policy No. 0310-928384 for the period April 20, 2018 through

 April 20, 2019, (5) Allied World Insurance Company third-layer-excess Policy No. 0310-178085

 for the period April 20, 2017 through April 20, 2018, and (6) Allied World Insurance Company

 third-layer-excess Policy No. 0310-927986 for the period April 20, 2018 through April 20, 2019),

 the Debtors provided notice on January 14, 202287 that these policies are potentially responsive

 to the New Direct Tort Claims of T.H., T.S., and B.S, and the Debtors demanded participation in

 the mediation of the bankruptcy case.

           60.      On January 20, 2022, Allied World acknowledged notice of these New Direct

 Tort Claims, but has not, to date, provided a coverage position.88

       J.        The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
       to Westchester of Initial Pre-Petition Claims and that Insurance Company’s Coverage
       Position.

           61.      Regarding Westchester second-layer-excess Policy No. G2404563800189 for the

 period April 1, 2009 through April 1, 2010 and Westchester second-layer-excess Policy No.


 82
      Exhibit Y.
 83
      Exhibit Z.
 84
      Exhibit AA.
 85
   See Exhibit Z at 1, Form “GL 00139 00 (12/11)”, Form “00157 (11/05)”, Form “00136
 (11/05)”, Form “00241 (11/05)”, and Form “CR MANU A”.
 86
      Exhibit CC.
 87
      Exhibit D.31 (Debtors’ notice letter dated January 14, 2022 to Allied World).
 88
      Exhibit D.32 (Allied World’s letter dated January 20, 2022 acknowledging notice).
 89
      Exhibit DD.



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 G2409588500190 for the period April 1, 2010 through April 1, 2011, the Debtors provided notice

 on January 18, 202291 that these policies are potentially responsive to A.H.’s Initial Pre-Petition

 Claim.

           62.      On June 8, 2022, Westchester acknowledged notice of this Initial Pre-Petition

 Claim, but has not, to date, provided a coverage position.92

       K.        The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
       to National Union of New Direct Tort Claims and that Insurance Company’s Coverage
       Position.

           63.      Regarding four policies sold by National Union Fire Insurance Company of

 Pittsburgh, PA (“National Union”), including second-layer-excess Policy No. 01537522293 for

 the period April 20, 2015 through April 20, 2016, second-layer-excess Policy No. 01537524194

 for the period April 20, 2016 through April 20, 2017, second-layer-excess Policy No.

 01537525095 for the period April 20, 2017 through April 20, 2018, and second-layer-excess

 Policy No. 02362727096 for the period April 20, 2018 through April 20, 2019), the Debtors

 provided notice on January 18, 202297 that these policies are potentially responsive to the New




 90
      Exhibit EE.
 91
      Exhibit D.33 (Debtors’ notice letter dated January 18, 2022 to Westchester).
 92
      Exhibit D.34 (Westchester’s email dated June 8, 2022 acknowledging notice).
 93
      Exhibit FF.
 94
      Exhibit GG.
 95
      Exhibit HH.
 96
      Exhibit II.
 97
      Exhibit D.35 (Debtors’ notice letter dated January 18, 2022 to National Union).



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 Direct Tort Claims of T.H., T.S., and B.S., and the Debtors demanded participation in the

 mediation of the bankruptcy case.

           64.    On January 19, 2022, National Union acknowledged notice of these New Direct

 Tort Claims, but has not, to date, provided a coverage position.98

        L.        The Debtors Are Filing as Redacted Exhibits to this Declaration All Notices
        to Great American of New Direct Tort Claims and that Insurance Company’s Coverage
        Position.

           65.    Regarding two policies sold by Great American, including fourth-layer-excess

 Policy No. EXC410077099 for the period April 20, 2017 through April 20, 2018 and fourth-layer-

 excess Policy No. EXC1615069100 for the period April 20, 2018 through April 20, 2019), the

 Debtors provided notice on January 14 and January 31, 2022101 that these policies are potentially

 responsive to the New Direct Tort Claims of T.S. and B.S., and the Debtors demanded

 participation in the mediation of the bankruptcy case.

           66.    On December 13, 2022, Great American acknowledged notice of these New

 Direct Tort Claims, but has not, to date, provided a coverage position.102

               THE DEBTORS ARE FILING AS REDACTED EXHIBITS TO THIS
             DECLARATION ALL NOTICES TO ALPHA CENTURION’S INSURANCE
            COMPANIES OF THE INITIAL PRE-PETITION CLAIMS AND NEW DIRECT
             TORT CLAIMS AND THE INSURERS’ COVERAGE POSITIONS, IF ANY




 98
      Exhibit D.36 (National Union’s email dated January 19, 2022 acknowledging notice).
 99
      See Exhibit BB at Form “GAI 6600 (Ed. 06/97)”.
 100
       Exhibit BB.
 101
  Exhibits D.37 (Debtors’ notice letters dated January 14 and January 31, 2022 to Great
 American).
 102
       Exhibit D.38 (Great American’s email dated December 13, 2022 acknowledging notice).



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             67.     As detailed below on an insurer-by-insurer basis, the Debtors provided notice of

 the Initial Pre-Petition Claims and New Direct Tort Claims to the insurance companies that sold

 all potentially responsive policies to Alpha Centurion (to the extent the Debtors have knowledge

 of such policies).

             68.     The Debtors are filing as redacted exhibits to this Declaration all electronic copies

 of the above-referenced notice letters.

             69.     To the extent Alpha Centurion’s insurance companies responded to the notice

 letters with a coverage position, the Debtors are filing as redacted exhibits to this Declaration all

 electronic copies of such coverage position correspondence.

             70.     Regarding Everest primary-layer Policy No. 51GL002418-081 for the period

 March 11, 2008 through March 11, 2009, the Debtors provided notice on January 14, 2022103 and

 a follow-up letter on August 12, 2022104 that this policy is potentially responsive to A.H.’s Initial

 Pre-Petition Claim, but Everest not responded to date with an acknowledgement or coverage

 position.

             71.     Regarding eight policies sold by PIIC, including (1) primary-layer Policy No.

 PHPK396765105 for the period March 11, 2009 through March 11, 2010, (2) primary-layer Policy

 No. PHPK540637106 for the period March 11, 2010 through March 11, 2011, (3) primary-layer

 Policy No. PHPK693782107 for the period March 11, 2011 through March 11, 2012, (4) primary-


 103
       Exhibit D.39 (Debtors’ notice letters dated January 14, 2022 and August 12, 2022 to Everest).
 104
       Id.
 105
       See Exhibit D.41 at 12.
 106
       See Exhibit JJ at Form “CA DS 03 03 10” “Page 1 of 13”.
 107
       Exhibit JJ.



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 layer Policy No. PHPK839522108 for the period March 11, 2012 through March 11, 2013, (5)

 primary-layer Policy No. PHPK991117109 for the period March 11, 2013 through May 15, 2013;

 (6) excess-layer Policy No. PHUB360526110 for the period September 26, 2011 through March

 11, 2012; (7) excess-layer Policy No. PHUB376235111 for the period September 26, 2012 through

 March 11, 2013; and (8) excess-layer Policy No. PHUB414051112 for the period March 11, 2013

 through May 15, 2013), the Debtors provided notice on January 14, 2022113 that these policies are

 potentially responsive to the Initial Pre-Petition Claims and New Direct Tort Claims of A.H.,

 B.H., C.A., D.P., D.W., K.R., L.E., M.B., and S.W., and the Debtors demanded participation in

 the mediation of the bankruptcy case.

            72.      On February 23, 2022, PIIC denied coverage for these Initial Pre-Petition Claims

 and New Direct Tort Claims.114

            73.      Regarding Capitol primary-layer Policy No. CS02272641-01115 for the period

 August 5, 2013 through August 5, 2014, the Debtors provided notice on January 14, 2022116 that

 this policy is potentially responsive to the Initial Pre-Petition Claims and New Direct Tort



 108
       Exhibit KK.
 109
       Exhibit LL.
 110
       Exhibit MM.
 111
       Exhibit NN.
 112
       Exhibit OO.
 113
       Exhibit D.40 (Debtors’ notice letter dated January 14, 2022 to PIIC).
 114
       Exhibit D.41 (PIIC’s denial letter dated February 23, 2022).
 115
       Exhibit PP.
 116
       Exhibit D.42 (Debtors’ notice letter dated January 14, 2022 to Capitol).



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 Claims of B.H., C.A., D.W., K.R., M.B., and S.W. and the Debtors demanded participation in the

 mediation of the bankruptcy case.

            74.    On September 8, 2022, Capitol denied coverage for these Initial Pre-Petition

 Claims and New Direct Tort Claims.117

            75.    Regarding Western Heritage Insurance Company (“Western Heritage”) primary-

 layer Policy No. SCP1006746118 for the period August 5, 2014 through August 5, 2015, the

 Debtors provided notice on January 14, 2022119 that this policy is potentially responsive to the

 New Direct Tort Claims of B.S., E.B., J.H., S.M., S.W., and T.S., and the Debtors demanded

 participation in the mediation of the bankruptcy case.

            76.    On January 20, 2022, Western Heritage acknowledged notice of these New Direct

 Tort Claims, but has not, to date, provided a coverage position.120

                                                           Respectfully submitted,

 Dated: August 21, 2023                          By:        /s/Luke E. Debevec          ___________
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                                                           E-mail:ldebevec@reedsmith.com
                                                                   jellison@reedsmith.com




 117
       Exhibit D.43 (Capitol’s denial letter dated September 8, 2022).
 118
       Exhibit QQ.
 119
       Exhibit D.44 (Debtors’ notice letter dated January 14, 2022 to Western Heritage).
 120
       Exhibit D.45 (Western Heritage’s letter dated January 20, 2022 acknowledging notice).



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